Case 2:05-cv-02314-SHI\/|-dkv Document 9 Filed 06/14/05 Page 1 of 7 Page|D 7

IN THE UNITED sTATEs DIsTRIcT conraqu ,;,_,J l
FOR THE wEsTERN DIs'rRIcT oF TENNESSEE" `“"'“' !'-F fm !@: rig

wEsTERN DIvIsIoN _.
`:'_‘}LLI¢`:,.‘

 

UNITED STATES OF AMERICA,
Petitioner,
vs.

No. 05-2314MaV

ANDERSON IVIE,

Respondent.

 

ORDER COMPELLING RESPONDENT IVIE TO COMPLY WITH IRS
ADMINISTRATIVE SUMMONS AND AWARDING FEES AND EXPENSES AND
CERTIFICATION OF FACTS CONSTITUTING CONTEMPT PURSUANT TO 28
U.S.C. § 635(€)

 

This matter came to be heard on Thursday, June 9, 2005, on the
petition of the United States and on an order of this court
directing the respondent, Anderson Ivie, to appear and show cause
why he should not be compelled to obey the Internal Revenue Service
administrative summons issued to and served upon him on January 27,
2005. In its petition, the United States also seeks its costs and
expenses in bringing this petition. For the reasons set forth
below, Ivie is ordered to comply' with the IRS administrative
summons and it is recommended that a show cause order be issued to
respondent Ivie to appear before the district court and show cause

why he should not be held in contempt of court.1

 

1 Because the relief sought by defendant exceeds the

magistrate judge's contempt authority, a report and

Thmdocwnmnemewdenmedodwtmmeunc mg§m\e
with Hu'¢e 58 and[or 79(8) FHCP on Q-’ l j " 5

0

Case 2:05-cv-02314-SHI\/|-dkv Document 9 Filed 06/14/05 Page 2 of 7 Page|D 8

CERTIFIED FACTS

The following facts are certified to the district court. The
IRS is conducting an investigation of the federal income tax
liability of Ivie for the years 2001 though 2003. As part of its
investigation, the IRS issued and served an administrative summons
on Ivie pursuant to 28 U.S.C. § 7602 which directed him to appear
before an IRS officer and give testimony on March 2, 2005. and to
produce for examination certain books, papers, records and other
data described in the summons in order to determine the correct
amount of Ivie's income and expenses for the years 2001 through
2003. Ivie failed to appear and has failed to produce the items
sought in the summons. On April 29, 2005, the IRS filed a petition
to enforce its administrative summons. The petition was supported
by the sworn declaration of Nancy J. Wells, an IRS revenue officer,
declaring under oath the facts certified herein. Pursuant to the
petition, the court issued a show cause order which ordered Ivie to
appear on June 9, 2005. at 10:00 a.m., and show cause why he should
not be compelled to obey the Internal Revenue summons issued to and
served upon him on January 27, 2005. The order further directed Ivy
to comply with the summons or serve a written response prior to the

hearing. Ivie failed to serve a written response, failed to appear

 

recommendation and a certification of contempt under 28 U.S.C.
§636(e)(6)(B)(iii) is issued instead of a determination.

2

Case 2:05-cv-02314-SHI\/|-dkv Document 9 Filed 06/14/05 Page 3 of 7 Page|D 9

before the IRS and give testimony, and failed to appear at the
hearing, failed to notify the court that he would not be present,
and failed to seek a continuance or otherwise object. The IRS
appeared and asked that Ivie be ordered to comply with the summons
and be held in contempt of court for failing to appear.
ANALYSIS

To demonstrate a _prima facie case for enforcement of an
administrative subpoena, the United States must shows (l) that the
summons was issued for a proper purpose; (2) the information sought
may be relevant to that purpose; (3) the information sought is not
already in the possession of the IRS; and (4) that the
administrative steps required by law with respect to the issuance
and service of the summons have been followed. United States v.
Powell, 379 U. S. 48, 57-58 (1964); United States v. Will, 671
F.2d 963, 966 (6th Cir. 1982); United States v. Michigan Bell
Telephone Co., 415 F.2d 1284, 1286 (6th Cir. 1969). After review
of Officer Wells’ declaration, the court finds that all the
requisite elements for a prima facie case for enforcement of the
summons have been satisfied. Once this showing is made, the burden
shifts to the taxpayer to demonstrate that enforcement of the
summons would be an abuse of the court's process. U.S. v. Will, 671
F.2d at 966. Ivie has presented no objection to the enforcement of

the summons. Accordingly, Ivie is ordered to appear and. give

Case 2:05-cv-02314-SHI\/|-dkv Document 9 Filed 06/14/05 Page 4 of 7 Page|D 10

testimony before an IRS officer and produce for inspection the
books, papers, and other data described in the January 27, 2005 IRS
summons within 14 days of the date of entry of this order.
Section 636(e)(6) of the United States Magistrate Judges Aot

provides that when a person commits an act in a proceeding before
a magistrate judge under 28 U.S.C. § 636(a) or (b), which may
constitute civil contempt, the magistrate judge shall:

certify the facts to a judge of the district

court and may serve or cause to be served,

upon any person whose behavior is brought into

question under this paragraph, an order

requiring such person to appear before a

district judge upon a day certain to show

cause why that person should not be adjudged

in contempt by reason of the facts so

certified.
28 U.S.C. 636(e)(6)(B)(iii). Contempts committed in “a proceeding
before a magistrate judge” include not only contempts committed in
the magistrate judge's presence, but also contempts related to
proceedings before the magistrate judge. Taberer v. Armstrong
World Industries, Inc., 954 F.2d 888, 901 n.17 & 902 n.19 (3rd Cir.
1992). In a proceeding before a magistrate judge, the following
acts, among others, constitute contempts (1) disobedience to any
lawful order; and (2) failure to produce documents after being
ordered to do so. 28 U.S.C. 636(e).

Here, Ivie's conduct in failing to appear before the IRS to

give testimony and to produce the requested tax returns or to file

4

Case 2:05-cv-02314-SHI\/|-dkv Document 9 Filed 06/14/05 Page 5 of 7 Page|D 11

a written response and to appear before the court after being
ordered to do so by the magistrate judge constitutes disobedience
to a lawful order and thus contempt before the magistrate judge.2
Accordingly, it is submitted that the district court should issue
a show cause order to petitioner Ivie to appear at a date certain
before the district court to show cause during a hearing why he
should not be held in contempt of court.
CONCLUSION

Ivie is ordered to appear and give testimony before an IRS
officer and produce for inspection the books, papers, and other
data described in the IRS January 27, 2005 summons within 14 days
of the date of entry of this order. In addition, it is recommended
that the district court should issue a show cause order to
petitioner Ivie to appear at a date certain before the district
court to show cause during a hearing why he should not be held in
contempt of court. Finally, the United States is granted its
attorney fees and expenses in bringing this petition. The United

States is directed to file an affidavit of fees and expenses within

 

2 Whether civil contempt or criminal contempt is implicated

depends on the purpose of the charge. “If the purpose is
coercive or remedial (to secure compliance with the court's
order) or compensatory (to make the injured party whole), then
‘civil contempt’ is implicated. If the purpose is punitive (to
vindicate the court's authority), then ‘criminal contempt’ is
implicated." Nabkey v. Hoffius, 827 F. Supp. 450, 452 (S.D.
Mich. 1993).

Case 2:05-cv-02314-SHI\/|-dkv Document 9 Filed 06/14/05 Page 6 of 7 Page|D 12

thirty days of the date of service of this order.

IT IS SO ORDERED this 13th day Of June, 2005.

/O/(M /< U/€zwr

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

UNIED` sATTEs DlsTRCIT oURT - WETRNDIsTCRIT oF ENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-023 14 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Lindsey W. Cooper

U.S. DEPARTl\/[ENT OF .TUSTICE
P.O. Box 227

Ben Franklin Station

Washington, DC 20044

Honorable Samuel Mays
US DISTRICT COURT

